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                    EXHIBIT K
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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION

   IN RE: BOSTON SCIENTIFIC                               MDL No. 2326
   CORP. PELVIC REPAIR SYSTEM
   PRODUCTS LIABILITY
   LITIGATION

   THIS DOCUMENT RELATES TO


   Civil Action No.:__2:16-cv-01311_                      Raeann Bayless_______
                                                          Name of Plaintiff



                              AMENDED PLAINTIFF FACT SHEET

            Each plaintiff who allegedly suffered injury as a result of a pelvic mesh product
   manufactured or sold by Boston Scientific Corp. must complete this Plaintiff Fact Sheet. In
   completing this Fact Sheet, you are under oath and must answer every question and provide
   information that is true and correct to the best of your knowledge. If you cannot recall all of the
   details requested, please provide as much information as you can and then state that your answer
   is incomplete and explain why as appropriate. If you select an "I Don't Know" answer, please
   state all that you do know about that subject. If any information you need to complete any part of
   the Fact Sheet is in the possession of your attorney, please consult with your attorney so that you
   can fully and accurately respond to the questions set out below. If you are completing the Fact
   Sheet for someone who cannot complete the Fact sheet herself, please answer as completely as
   you can.

           The Fact Sheet shall be completed in accordance with the requirements and guidelines set
   forth in the applicable Case Management Order. A completed Fact Sheet shall be considered
   interrogatory answers pursuant to Fed. R. Civ. P. 33 and 34 and will be governed by the
   standards applicable to written discovery under Fed. R. Civ. P. 26 through 37. You must
   supplement your responses if you learn that they are incomplete or incorrect in any material
   respect. The questions and requests for production contained in the Fact Sheet are non-
   objectionable and shall be answered without objection. This Fact Sheet shall not preclude
   Defendants from seeking additional documents and information on a reasonable, case-by-case
   basis pursuant to the Federal Rules of Civil Procedure and as permitted by the applicable Case
   Management Order.

          In filling out this form, please use the following definition: “healthcare provider” means
   any doctor, physician, surgeon, pharmacist, hospital, clinic, center, physician’s office, infirmary,
   medical or diagnostic laboratory, or other facility that provides medical care or advice, and any
   pharmacy, x-ray department, radiology department, laboratory, physical therapist or physical

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   therapy department, rehabilitation specialist, chiropractor, or other persons or entities involved in
   the diagnosis, care and/or treatment of you.

          In filling out this form, the terms "You" or "Your" refer to the person who received pelvic
   mesh product(s) manufactured or sold by Boston Scientific Corp. and who is identified in
   Question I.1 (a) below.

         To the extent that the form does not provide enough space to complete your responses or
   answers, please attach additional sheets as necessary.

                                I. BACKGROUND INFORMATION

   1)     Please state:

          a.      Full name of the person who received the pelvic mesh product(s), including
                  maiden name:
                  Raeann Bayless

          b.      Full name of the person completing this form, if different from the person listed in
                  1 (a) above, and the relationship of the person completing this form to the person
                  listed in 1 (a) above:

          c.      The name and address of your primary attorney: Jeffrey L. Haberman; 1212 SE 3rd
                  Ave, Fort Lauderdale, FL 33316

   2)     Your Social Security Number: XXX-XX-XXXX


   3)     Your date of birth: 1/19/1965

   4)     Your current residence address: 1754 Poinciana Circle, Titusville, FL 32796

          If you have lived at this address for less than 10 years, provide each of your prior
          residence addresses from 2000 to the present:

                  Prior Address                             Dates You Lived At This Address
   1754 Poinciana Circle, Titusville, FL 32796          1987 to Present




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   5)    Have you ever been married? Yes ___ No _X__

         If yes, provide the names and addresses of each spouse and the inclusive dates of your
         marriage to each person.




   6)    Do you have children? Yes _X__ No ___

         If Yes, please provide the following information with respect to each child:


     Full Name of            Date of Birth             Home Address (if           Whether
         Child                                       different from yours) Biological/Adopted
   Michelle Pope       3/16/1985                     107 Golden Avenue      Biological
                                                     Cocoa, FL 32922
   Kevin Pope          4/25/87                       Resides with Plaintiff Biological

   Kassidy Joe         2/12/91                       Resides with Plaintiff   Biological

   Kenneth Joe         4/28/92                       Plaintiff does not have Biological
                                                     the complete address,
                                                     but he resides at
                                                     Maplewood Dr.
                                                     Titusville, FL 32796

   7)    Identify the name and age of any person who currently resides with you and their
         relationship to you:

         Joan Bayless; Mother; 78 years old

   8)    Identify all secondary and post-secondary schools you attended, starting with high school
         and please provide the following information with respect to each:

     Name of School              Address                Dates of         Degree           Major or
                                                      Attendance        Awarded         Primary Field
   Orange Park High     2300 Kingsley Ave,           1981 – 1982       N/A              N/A
   school               Orange Park, FL 32073
   Whispering Hills     Unable to find address       1982 – 1983       Diploma          N/A
   Adult Education
   Brevard              1519 Clearlake Rd            1991              N/A              1 credit – Intro
   Community College    Cocoa , FL 32922                                                to legal system




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   9)       Please provide the following information for your employment history over the past 10
            years up until the present:

        Employer Name            Addresses              Job Title/      Dates of        Salary/Rate
                                                     Description of    Employment         of Pay
                                                         Duties
   Venus Nails & Day        Plaintiff does not     Full Specialist     2011 to 2013     Plaintiff
   Spa                      have the complete                                           does not
                            address, but it is                                          recall, but it
                            located at Colonial                                         was
                            Drive Orlando, FL                                           Commission
   Walmart                  Plaintiff does not     Bakery              Plaintiff does   Plaintiff
                            have the complete      Department          not recall       does not
                            address, but it is                                          recall
                            located at Cheney
                            Hwy Titusville, FL
   Ryan’s                   Plaintiff does not     Prep Cook Dessert   Plaintiff does   Plaintiff
                            have the complete      Bar                 not recall       does not
                            address, but it is                                          recall
                            located at Columbia
                            Dr. Titusville, FL
   Waffle House             Plaintiff does not     Server/Prep cook    Plaintiff does   $2.50 plus
                            have the complete                          not recall       tips
                            address, but it is
                            located at Cheney
                            Hwy Titusville, FL
   Days Inn                 Plaintiff does not     Maid                Plaintiff does   Plaintiff
                            have the complete                          not recall       does not
                            address, but it is                                          recall
                            located at Cheney
                            Hwy Titusville, FL
   Comfort Inn              Plaintiff does not     Maid                Plaintiff does   Plaintiff
                            have the complete                          not recall       does not
                            address, but it is                                          recall
                            located at Cheney
                            Hwy Titusville, FL
   Ramada Inn               Plaintiff does not     Maid                Plaintiff does   Plaintiff
                            have the complete                          not recall       does not
                            address, but it is                                          recall
                            located at Cheney
                            Hwy Titusville, FL

   10)      Have you ever served in any branch of the military? Yes ___ No _X__

            If Yes, please provide the following information:


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         a. Branch and dates of service, rank upon discharge and the type of discharge you
            received:
                                   ______________________________________________

         b. Were you discharged from the military at any time for any reason relating to your
            medical, physical, or psychiatric condition? Yes ___ No ___

         If Yes, state what that condition was:


   11)   Within the last ten years, have you been convicted of, or plead guilty to, a felony and/or
         crime of fraud or dishonesty? Yes ___ No _X__

         If Yes, please set forth where, when and the felony and/or crime:




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                                     II. CLAIM INFORMATION

  1)       Please complete the following chart for each implanted Boston Scientific Corp. pelvic
           mesh product. Insert additional lines as necessary.

   Pelvic Mesh Product and   Date and Location of   Reason for         Implanting Doctor
   lot number (if sticker    Implant                Implant            and Address
   affixed, so indicate)
   Product No. 1:            8/9/13 at Florida      Cystocele,         Dr. Kathy Y. Jones
   Advantage Fit             Hospital               Incomplete         508 North Mills
   Lot: ML00001522                                  uterovaginal       Avenue, Suite C,
                                                    prolapse, stress   Orlando, FL 32803
                                                    urinary
                                                    incontinence
   Product No. 2:            8/9/13 at Florida      Cystocele,         Dr. Kathy Y. Jones
   Restorelle                Hospital               Incomplete         508 North Mills
                                                    uterovaginal       Avenue, Suite C,
                                                    prolapse, stress   Orlando, FL 32803
                                                    urinary
                                                    incontinence



   2)      For each pelvic mesh product identified above, describe your understanding of the
           medical condition for which you received the pelvic mesh product(s): Cystocele,
           Incomplete uterovaginal prolapse, stress urinary incontinence

   3)      For each Boston Scientific Corp. pelvic mesh product identified above, indicate if, prior
           to implantation, you received any written and/or verbal information or instructions,
           including any risks or complications that might be associated with the use of the
           product(s)? Yes ___ No __X_ Don’t Know ___

           If Yes:

           a. Provide the date you received the written and/or verbal information or instructions:



           b. Identify by name and address the person(s) who provided the information or
              instructions:


           c. What information or instructions did you receive?



           d. If you have copies of the written information or instructions you received, please
              attach copies to your response.

   4)      For each Boston Scientific Corp. pelvic mesh product(s) that remains implanted in you:

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         a. Has any doctor recommended removal of the pelvic mesh product(s)?
            Yes _X__ No ___

              If Yes, Identify by name and address the doctor who recommended removal and state
              your understanding of why the doctor recommended removal:

              As best as Plaintiff can recall, a doctor at Brevard Health Alliance recommended
              removal. Address is 2120 Sarno Road Melbourne, FL 32935.

   5)    Have any of the Boston Scientific Corp., pelvic mesh product(s) been removed, in whole
         or in part?
         Yes ___ No _X__ Don’t Know ___

         If Yes, for each pelvic mesh product removed provide:

         a.        On what date, where and by whom (doctor) was the pelvic mesh product(s), or
                   any portion of it, removed?

         b.        Explain why you consented to have the pelvic mesh product(s), or any portion of
                   it, removed?

         c.        Does any medical treater, physician or anybody else on your behalf have
                   possession of any portion of the pelvic mesh product® that was previously
                   implanted in you and removed? Yes ___ No ___ Don’t Know ___

              If Yes, please state name and address of the person or entity having possession of
              same.

   6)    Do you claim that you suffered bodily injuries as a result of the implantation of any
         Boston Scientific Corp., pelvic mesh product(s)? Yes _X__ No ___

         If Yes:

         a.        Describe the bodily injuries, including any emotional of psychological injuries,
                   that you claim resulted from the implantation of the pelvic mesh product(s).
                   Plaintiff does not intend to limit her response at this time. Plaintiff reserves the
                   right to amend her response should she recall differently. Plaintiff experienced
                   perforation of mesh, bleeding around perforation, infections, nausea off and on,
                   constipation and stomach pains after eating.

         b.        When is the first time you experienced symptoms of any of the bodily injuries you
                   claim in your lawsuit to have resulted from the pelvic mesh product(s)?
                   Plaintiff does not intend to limit her response at this time. Plaintiff reserves the
                   right to amend her response should she recall differently. Plaintiff does not recall
                   the exact date, but it was sometime after her surgery.

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          c.     When did you first attribute these bodily injuries to the pelvic mesh product(s)?
                 Plaintiff does not intend to limit her response at this time. Plaintiff reserves the
                 right to amend her response should she recall differently. Plaintiff does not recall
                 the exact date, but it was sometime after her surgery.

          d.     To the best of your knowledge and recollection, please state approximately when
                 you first saw a health care provider for each of those bodily injuries you claim to
                 have experienced relating to the pelvic mesh product(s):
                 Plaintiff does not intend to limit her response at this time. Plaintiff reserves the
                 right to amend her response should she recall differently. Plaintiff does not recall
                 the exact date, but it was sometime after her surgery.

          e.     Are you currently experiencing symptoms related to your claimed bodily injuries?
                 Yes _X__ No ___

                 If Yes, please describe your current symptoms in detail
                 Bleeding after sexual intercourse, nausea, constipation and infections from
                 perforation.

          f.     Are you currently seeing, or have you ever seen a doctor or healthcare provider
                 for each of the bodily injuries or symptoms listed above? Yes _X__ No ___

                 If Yes, please list all doctors you have seen for treatment of any of the bodily
                 injuries you have listed above.


     Provider Name and              Condition Treated             Approximate Dates of
            Address                                                   Treatment
   Dr. Kathy Y. Jones         Robotic assisted total             2013
   508 North Mills Avenue,    laparoscopic hysterectomy,
   Suite C, Orlando, FL       abdominal sacral colpopexy,
   32803                      retropubic urethral sling using
                              the advantage fit, etc.
   Brevard Health Alliance    Numerous conditions,               2013 to Present
   2120 Sarno Road            including, but not limited to
   Melbourne, FL 32935.       Infections from perforations
   Jess Parish Memorial       Numerous conditions,               2013 to Present
   951 N Washington Ave       including, but not limited to
   Titusville, FL 32796       Infections from perforations

          g.     Were you hospitalized at any time for the bodily injuries you listed above?
                 Yes _X__ No ___

                 If Yes, please provide the following:

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        Hospital Name and              Condition Treated           Approximate Dates of
             Address                                                   Treatment
    Florida Hospital              Robotic assisted total          2013
    601 E. Rollins St. Orlando,   laparoscopic hysterectomy,
    FL 32803                      abdominal sacral colpopexy,
                                  retropubic urethral sling
                                  using the advantage fit, etc.

    7)     Other than the Boston Scientific Corp. pelvic mesh product(s) that are the subject of your
           lawsuit, have you been implanted with any other pelvic mesh products?
           Yes _X__ No ___

           If Yes, please provide the following information:

               a. Product Name(s): Restorelle - Coloplast

               b. Date of implantation procedure(s) and name and address of implanting doctor(s):
               Information was previously provided.

               c. Condition(s) sought to be treated through placement of the device(s):
               Cystocele, Incomplete utervaginal prolapse, stress urinary incontinence.

               d. Whether the product(s) remain implanted inside of you today?
                  Yes _X__ No ___

    8)     Are you making a claim for lost wages or lost earning capacity?

           Yes ___ No _X__

           If Yes, state the annual gross income you derived from your employment for each year,
           beginning five years prior to the implantation of the pelvic mesh product(s) until the
           present:



    9)     Are you making a claim for lost out-of-pocket expenses?

           Yes _X__ No ___

           If Yes, please identify and itemize all out-of-pocket expenses you have incurred:
           Plaintiff is the process of computing the number




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    10)    Has anyone filed a loss of consortium claim in connection with your lawsuit regarding
           the pelvic mesh product(s)?

           Yes ___ No __X_

           If Yes, identify by name and address the person who filed the loss of consortium claim,
           state the relationship of that person to you, and state the nature of the claim:




    11)    Please indicate whether the consortium plaintiff is alleging any of the claimed damages
           set forth below and itemize the alleged damages/expenses:

              Claims               Yes/               Itemized Damages/Expenses
                                   No
    Loss of services of spouse    N/A      Not applicable
    Impaired sexual relations     N/A      Not applicable
    Lost wages/ lost earning      N/A      Not applicable
    capacity
    Lost out-of-pocket expenses   N/A      Not applicable
    Physical injuries             N/A      Not applicable
    Psychological Injuries/       N/A      Not applicable
    Emotional Injuries
    Other                         N/A      Not applicable




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    12)   Please list the name and address of any healthcare providers the consortium plaintiff has
          seen for treatment for any physical, emotional, or psychological injuries or symptoms
          alleged to be related to the loss of consortium claim.
          N/A




    13)   Have you or anyone acting on your behalf had any communication, oral or written, with
          any of the defendants or their representatives, other than your attorneys?

          Yes ___ No _X__ Don’t Know ___

          If Yes, set forth the date of the communication, the method of communication, the name
          of the person with whom you communicated, and the substance of the communication
          between you and any defendants or their representatives:




                                 III. MEDICAL BACKGROUND

    1)    Provide your current age: _53_____ Height _5’9_____ Weight _160lbs_____

    2)    At the time you received each pelvic mesh product(s), please state:

             Your age _48_____ Your approximate weight _170lbs_____

    3)    State number of vaginal births you have had? 4

    4)    State the number of cesarean section births you have had? 0

    5)    In chronological order, list any and all surgeries, procedures, or hospitalizations you had
          in the 10 year period BEFORE implantation of the pelvic mesh product(s); identifying
          by name and address the doctor(s), hospital(s) or other healthcare provider(s) involved
          with each surgery or procedure; and providing the approximate date(s) for each. Insert
          additional rows as necessary.




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         Doctor or Healthcare Provider              Description of Surgery            Approximate.
          Involved (including address)                 Hospitalization                   Date

    William F. Rylander, MD                  Colonoscopy                              Approximately
    407 S Washington Ave # 1,                                                         2005
    Titusville, FL 32796

    6)       In chronological order, list any and all surgeries, procedures, or hospitalizations you had
             AFTER the implantation of the pelvic mesh product(s); identifying by name and address
             the doctor(s), hospital(s) or other healthcare provider(s) involved with each surgery or
             procedure; and provide the approximate date(s) for each. Insert additional rows as
             necessary.

         Doctor or Healthcare Provider              Description of Surgery/            Approximate
          Involved (including address)                 Hospitalization                    Date

    None




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    7)       To the extent not already provided in the charts above, provide the name, address, and
             telephone number of every doctor, hospital, or other health care provider from which you
             have received medical advice and/or treatment for the past 10 years. Insert additional
             rows as necessary.

          Name and Specialty                 Address              Approximate Dates/Years of Visits

    Brevard Health Alliance           500 N Washington Ave        2014 to 2015
                                      #105 Titusville, FL
                                      32796 and 2120 Sarno
                                      Road Melbourne, FL
                                      32935.
    Parish Medical Center             951 N Washington Ave,       1985 to Present
                                      Titusville, FL 32796
    Dr. Uma Rani Mathur;              502 Garden St.              Plaintiff does not recall the dates seen
    Family Medicine                   Titusville, FL 32796
    Dr. Ramesh Mathur; Family         502 Garden St.              Plaintiff does not recall the dates seen
    Medicine                          Titusville, FL 32796

    8)       Please describe your physical activities associated with daily living, physical fitness,
             household tasks, and employment-related activities before the implantation of each pelvic
             mesh product.

             Before the implantation, Plaintiff was very physically active and was into physical
             fitness.

    9)       Please describe your physical activities associated with daily living, physical fitness,
             household tasks, and employment-related activities after the implantation of the pelvic
             mesh product(s).
             After the implantation, Plaintiff’s activity was limited because of the cramps she gets
             when she is doing a couple of hours of activity at the site of her mesh.


    10)      To the best of your knowledge, you have suffered from any of the following:

                                                                        Indicate whether
                                                        Sought         condition occurred
                 Medical Condition                    treatment        pre-implant, post-
                                                         for?            implant or both
                                                                     (explain, if necessary)
                                         Yes ___       Yes ___
               Adhesions                                               Pre ___ Post ___
                                         No _X__       No ___
               Bleeding or Clotting
                                         Yes _X__      Yes _X__
               Disorders                                              Pre ___ Post _X__
                                          No ___        No ___

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            If Yes, please specify
            disorder:
            Plaintiff does not
            recall.
                                     Yes ___     Yes ___
            Bowel Obstruction                              Pre ___ Post ___
                                     No _X__     No ___
                                     Yes ___     Yes ___
            Bowel Perforation                              Pre ___ Post ___
                                     No _X__     No ___

            Cancer
                                     Yes ___     Yes ___
            If Yes, please specify                         Pre ___ Post ___
                                     No _X__     No ___
            type:


                                     Yes _X__   Yes ___
            Chronic Constipation                           Pre ___ Post _X__
                                      No ___    No _X__
            Collagen                 Yes ___     Yes ___
                                                           Pre ___ Post ___
            Disorder/Deficiency      No _X__     No ___
            Connective Tissue
            Disorder
                                     Yes ___     Yes ___
            If Yes, please specify                         Pre ___ Post ___
                                     No __X_     No ___
            disorder:


            Crohn’s Disease,
            Irritable Bowel
            Syndrome, Ulcerative
            Colitis, or Chronic
            Diarrhea
                                     Yes _X__   Yes ___
            If Yes, please specify                         Pre ___ Post _X__
                                      No ___    No _X__
            which condition and
            treatment prescribed:

            IBS and R.B.


                                     Yes _X__   Yes _X__
            Cystocele                                      Pre _X__ Post ___
                                      No ___     No ___
                                     Yes ___     Yes ___
            Diabetes                                       Pre ___ Post ___
                                     No _X__     No ___



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                                     Yes ___     Yes ___
            Diverticulitis                                 Pre ___ Post ___
                                     No _X__     No ___
                                     Yes ___     Yes ___
            Dyspareunia                                    Pre ___ Post ___
                                     No _X__     No ___
                                     Yes ___     Yes ___
            Enterocele                                     Pre ___ Post ___
                                     No _X__     No ___
                                     Yes _X__   Yes _X__
            Fistulas                                       Pre ___ Post _X__
                                      No ___     No ___
                                     Yes ___     Yes ___
            Hernias                                        Pre ___ Post ___
                                     No _X__     No ___
            Hypertension or High     Yes _X__   Yes _X__
                                                           Pre _X__ Post ___
            Blood Pressure            No ___     No ___
            Hypotension or Low       Yes ___     Yes ___
                                                           Pre ___ Post ___
            Blood Pressure           No _X__     No ___
            Immune System
            Disease or
            Dysfunction
            including HIV/AIDS
                                     Yes ___     Yes ___
                                                           Pre ___ Post ___
                                     No _X__     No ___
            If Yes, please specify
            condition:


                                     Yes _X__   Yes ___
            Malnutrition                                   Pre ___ Post _X__
                                      No ___    No _X__
            Muscle or Muscle-
            Wasting Disorder

            If Yes, please specify
                                     Yes _X__   Yes ___
            disorder:                                      Pre ___ Post _X__
                                      No ___    No _X__
            Muscle deterioration
            R.B.

            Neuromuscular
            Disease or Disorder
                                     Yes ___     Yes ___
            If Yes, please specify                         Pre ___ Post ___
                                     No _X__     No ___
            disorder:


                                     Yes ___     Yes ___
            Obesity                                        Pre ___ Post ___
                                     No _X__     No ___


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            Pelvic Trauma

            If Yes, please           Yes _X__   Yes ___
                                                           Pre ___ Post _X__
            describe trauma:          No ___    No _X__
            Cramping

            Pelvic Tumors or         Yes ___     Yes ___
                                                           Pre ___ Post ___
            Fibroids                 No __X_     No ___
                                     Yes ___     Yes ___
            Peritonitis/Sepsis                             Pre ___ Post ___
                                     No __X_     No ___
                                     Yes ___     Yes ___
            Rectocele                                      Pre ___ Post ___
                                     No _X__     No ___
            Recurrent or Chronic
            Vaginal or Bladder
            Infections

            If Yes, please specify   Yes _X__   Yes _X__
                                                           Pre ___ Post _X__
            location and nature of    No ___     No ___
            infections:
            Vaginal and bladder
            infections

            Recurrent Vaginal
            Pain

            If Yes, please           Yes _X__   Yes ___
                                                           Pre ___ Post _X__
            describe the nature of    No ___    No _X__
            pain experienced:
            Constant pulling and
            cramping
                                     Yes _X__   Yes _X__
            Urinary Incontinence                           Pre _X__ Post ___
                                      No ___     No ___
                                     Yes _X__   Yes ___
            Urinary Retention                              Pre ___ Post _X__
                                      No ___    No __X_
                                     Yes ___     Yes ___
            Uterine Prolapse                               Pre ___ Post ___
                                     No _X__     No ___
            Vaginal Vault            Yes _X__   Yes _X__
                                                           Pre _X__ Post ___
            Prolapse                  No ___     No ___
            Wound Healing
            Problems
                                     Yes ___     Yes ___
                                                           Pre ___ Post ___
            If Yes, please           No _X__     No ___
            explain:


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            Any other disease of
            the gut, intestines, or
            bowels
                                      Yes ___    Yes ___
            If Yes, please specify                         Pre ___ Post ___
                                      No _X__    No ___
            condition (s):




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                                        ***************

    THE FOLLOWING QUESTIONS ARE CONFIDENTIAL AND SUBJECT TO THE
    PROTECTIVE ORDER APPLICABLE TO THIS CASE.

          a) Were you diagnosed with and/or treated for Sexually Transmitted Diseases for
             the five year period prior to the implantation of the pelvic mesh product(s)
             through the present?
                                                                     Yes ___ No _X__

             If Yes, specify the disease, date of onset, medication/treatment, treating
             physician and current status of condition:

             Plaintiff does not recall whether she was ever diagnosed with an STD prior to
             her implantation, but she was not diagnosed with one after.



          b) Have you been diagnosed with and/or treated for any alcohol or chemical
             dependency for the one year prior to the implantation of the pelvic mesh
             product(s) through the present?                      Yes _X__ No ___

             If Yes, specify type and time period of dependency, type of treatment received,
             name of treatment provider, and current status of condition:
             As best as Plaintiff recalls, she was treated off and on for cocaine dependency
             prior to 2001. Plaintiff does not recall the treating physician.



          c) Have you experienced, been diagnosed with or been treated for any mental
             health conditions including depression, anxiety or other emotional or psychiatric
             disorders in the 5 year period before implantation of the pelvic mesh product(s)
             through the present?
                                                                         Yes ___ No _X__

             If Yes, specify condition, date of onset, medication/treatment, treating physician
             and current status of condition:




                                        ***************




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    11)    Have you experienced menopause?                             Yes _X__ No ___

           If Yes, at what age did it begin? 2013

    12)    Have you undergone vaginal estrogen therapy, hormone therapy, or systemic estrogen
           replacement therapy (ERT)?                                    Yes ___ No _X__

           If Yes, please provide the type of therapy you received, date(s) of the therapy, and the
           name and address of the healthcare provider providing the therapy.



    13)    Do you now or have you ever smoked tobacco products?        Yes _X__ No ___

           If Yes:

           a) How long have/did you smoke?
           Since 1980

    14)    List each prescription medication you have taken for more than 3 months at a time,
           within the last 5 years prior to implant to present, giving the name and address of the
           pharmacy where you received/filled the medication, the reason you took the medication,
           and the approximate dates of use.

                       Medication and Dosage                   Pharmacy
                                                        (Name and Address)
                      Lisinopril (Plaintiff does    Plaintiff does not recall.
                      not recall the dosage)




                                 IV. INSURANCE INFORMATION

    1)     Provide the following information for any past or present medical insurance coverage
           within the last 10 years:


     Insurance Company             Policy              Name of Policy            Approx. Dates
     (Name and Address)           Number             Holder/Insured (if           of Coverage
                                                     different than you)
    None


    2)     Have you ever been denied life insurance for reasons relating to your health?



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           Yes ___ No _X__ Don’t Know ___

           If Yes, please state when the denial occurred, the name of the life insurance company,
           and the company’s reason for denial:



    3)     To the best of your knowledge, have you been approved to receive or are you receiving
           Medicare benefits due to age, disability, condition or any other reason or basis?

           Yes ___ No _X__

           If Yes, please specify the following:

           a)     The date on which you first became eligible: ______________________

    [Please note: if you are not currently a Medicare-eligible beneficiary, but become eligible for
    Medicare during the pendency of this lawsuit, you must supplement your response at that time.
    This information is necessary for all parties to comply with Medicare regulations. See 42 U.S.C.
    1395y(b)(8), also known as Section 111 of the Medicare, Medicaid and SCHIP Extension Act of
    2007 and 42 U.S.C. 1395y(b)(2) also known as the Medicare Secondary Payer Act.]




                                    V. PRIOR CLAIM INFORMATION

    1)     Have you filed a lawsuit or made a claim in the last 10 years, other than in the present
           suit relating to any bodily injury?

           Yes ___ No _X__

           If Yes, please specify the following:

           a)     Court in which suit/claim filed or made:

           b)     Case/Claim Number:

           c)     Nature of Claim/Injury:

    2)     Have you applied for workers’ compensation (WC), Social Security disability (SSI or
           SSD) benefits, or other state or federal disability benefits within the past 10 years?

           Yes ___ No _X__

           If Yes, please specify the following:

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          a)   Date (or year) of application:

          b)   Type of benefits sought

          c)   Agency/Insurer from which you sought the benefits:

          d)   The nature of the claimed injury/disability:

          e)   Whether the claim was accepted or denied:




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                                             VI. FACT WITNESSES

    1)      Please identify all persons who you believe possess information concerning your
            injury(ies) and current medical conditions, other than your healthcare providers, and
            please state their name address and his/her/their relationship to you:

                Name                    Address              Relationship to You    Information you Believe
                                                                                        Person Possesses
    Kassidy Joe                  See above                Daughter                 Medical knowledge and
                                                                                   knowledge of pain

    Michele Pope                 See above                Daughter                 Medical knowledge and
                                                                                   knowledge of pain



         VII.    IDENTIFICATION OF DOCUMENTS AND OTHER ELECTRONICALLY
                                STORED INFORMATION

            For the period beginning three years prior to implantation of the pelvic mesh product(s)
    to present, please identify all research, including on-line research, you have conducted regarding
    the subjects of this litigation, including the implantation of the pelvic mesh product(s), the
    injuries and/or damages you claim resulted from the implantation of the pelvic mesh product(s),
    or your medical or physical condition. Identify date, time, and source, including any websites
    visited. Research conducted to understand the legal and strategic advice of your counsel is not
    considered responsive to this request.

         None

                                       VIII. DOCUMENT REQUESTS


    1)      RELEASES.

            NOTE: Please sign and attach to this Fact Sheet the authorizations for the release
            of records appended hereto.


    2)      DOCUMENTS. State whether you have any of the following documents in your
            possession, custody, and/or control. If you do, please provide a true and correct copy of
            any such documents with this completed Fact Sheet.

            a)         If you were appointed by a court to represent the plaintiff in this lawsuit, produce
                       any documents demonstrating your appointment as such.

                       i.     Not Applicable

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               ii.    The documents are attached              [OR] I have no documents      X

          b)   If you represent the estate of a deceased person in this lawsuit, produce a copy of
               the decedent’s death certificate and autopsy report (if applicable).

               i.     Not Applicable X

               ii.    The documents are attached              [OR] I have no documents

          c)   Produce any communications (sent or received) in your possession, which shall
               include materials accessible to you from any computer on which you have sent or
               received such communications, concerning the pelvic mesh product(s) or subject
               litigation, including but not limited to all letters, e-mails, blogs, Facebook posts,
               tweets, newsletters, etc. sent or received by you. Research conducted to
               understand the legal and strategic advice of your counsel is not considered
               responsive to this request.

               i.     Not Applicable X

               ii.    The documents are attached              [OR] I have no documents

          d)   Produce all documents (including journal entries, lists, memoranda, notes,
               diaries), photographs, video, DVDS or other media, including all copies,
               discussing or referencing the subjects of this litigation including the pelvic mesh
               product(s), the injuries and/or damages you claim resulted from the pelvic mesh
               product(s), or evidencing your physical condition from three years prior to the
               implantation of the pelvic mesh product(s) to present, including but not limited to
               the injuries for which you claim relief in this lawsuit. Research conducted to
               understand the legal and strategic advice of your counsel is not considered
               responsive to this request.

               i.     Not Applicable

               ii.    The documents are attached              [OR] I have no documents      X


          e)   Produce any pelvic mesh product packaging, labeling, advertising, or any other
               pelvic mesh product product-related items in your possession, custody or control.

               i.     Not Applicable

               ii.    The documents are attached              [OR] I have no documents      X




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          f)   Produce all documents concerning any communication between you and the Food
               and Drug Administration (FDA) or between you and any employee or agent of the
               Defendants, regarding the pelvic mesh product(s) at issue, except as to those
               communications which are attorney client/work product privileged.

               i.     Not Applicable

               ii.    The documents are attached            [OR] I have no documents     X

          g)   Produce all documents in your possession, custody or control evidencing or
               relating to any correspondence or communication between Boston Scientific
               Corp., (or any of its related companies or divisions) and any of your doctors,
               healthcare providers, and/or you relating to the pelvic mesh product(s), except as
               to those communications which are attorney client/work product privileged.




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               i.     Not Applicable

               ii.    The documents are attached             [OR] I have no documents      X

          h)   Produce any and all documents in your possession, custody or control reflecting,
               describing, or in any way relating to any instructions or warnings you received
               prior to implantation of any pelvic mesh product(s) concerning the risks and/or
               benefits of your surgery, including but not limited to any risks and/or benefits
               associated with the pelvic mesh product(s).

               i.     Not Applicable

               ii.    The documents are attached             [OR] I have no documents      X

          i)   Produce any and all documents reflecting the model number and lot number of the
               pelvic mesh product(s) you received.

               i.     Not Applicable

               ii.    The documents are attached             [OR] I have no documents      X

          j)   If you underwent surgery to explant in whole or in part the pelvic mesh product(s)
               that you received: produce any and all documents in your possession, custody or
               control aside from documents that may have been generated by experts retained
               by your counsel for litigation purposes, relating to any evaluation of the pelvic
               mesh product(s) and any other material that was (were) surgically removed from
               you.

               i.     Not Applicable

               ii.    The documents are attached             [OR] I have no documents      X

          k)   If you claim lost wages or lost earning capacity, copies of your federal and state
               tax returns for the two years prior to implantation of the pelvic mesh product(s)
               to the present.

               i.     Not Applicable

               ii.    The documents are attached             [OR] I have no documents      X

          l)   All documents in your possession, custody or control concerning payment by
               Medicare on the injured party's behalf relating to the injuries claimed in this
               lawsuit, including but not limited to Interim Conditional Payment summaries
               and/or estimates prepared by Medicare or its representatives regarding payments
               made on your behalf for medical expenses relating to the subject of this litigation.



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                  i.      Not Applicable

                  ii.     The documents are attached           [OR] I have no documents     X


    [Please note: if you are not currently a Medicare-eligible beneficiary, but become eligible for
    Medicare during the pendency of this lawsuit, you must supplement your response at that time.
    This information is necessary for all parties to comply with Medicare regulations. See 42 U.S.C.
    1395y(b)(8), also known as Section 111 of the Medicare, Medicaid and SCHIP Extension Act of
    2007 and 42 U.S.C. 1395y(b)(2) also known as the Medicare Secondary Payer Act.]




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